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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:06-cr-00027-MP-AK

FREDERICK CHARLES HALL,

      Defendant.
________________________________/

                                          ORDER

       This matter is before the Court on Doc. 202, Motion to Continue Disposition, filed by

Defendant Frederick Hall. In his motion, Defendant Hall states that he has been released pending

sentencing, and is currently completing the terms of his plea and cooperation agreement with the

Government. Because of this, Defendant requests that his sentencing hearing, currently set for

March 20, 2008, be continued. The Government does not object to the requested continuance,

and joins in the motion because of a scheduling conflict. Accordingly, Defendant Hall’s motion

is granted, and the sentencing hearing is continued to Wednesday May 28, 2008 at 10:00 a.m.


       DONE AND ORDERED this            20th day of March, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
